
In re Stephens, Jessie; — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Natchitoches, 2nd Judicial District Court Div. 0, Nos. 90-5293, 91-2095; to the Court of Appeal, Third Circuit, No. KH 04-00303.
Denied. Untimely, repetitive, and non-cognizable. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; cf. La.C.Cr.P. art. 930.4(D); La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
